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Exhibit A

 

 
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IN THE MATTER OF THE ARBITRATION BETWEEN

 

 

- x
LEGION INDEMNITY COMPANY
(IN LIQUIDATION) : Jeremy R. Wallis, Umpire
: James Leatzow, Arbitrator
Petitioner, : Jonathan Rosen, Arbitrator
-and-
CATALINA HOLDINGS LIMITED
Respondent. :
Xx
INITIAL FINAL AWARD

WHEREAS, Respondent is successor in interest to Alea Group Limited (formerly known as
Rhine Re Limited of Basel, Switzerland), who was a reinsurer on Treaties referenced below as
121002/128702, 136402, and 141101 and who was acquired by Respondent in 2013. Alea
Holdings UK participated in the Treaties 121003/ 128703 and 121303/121403 and was acquired
by Respondent in 2009.

Petitioner’s Pre-Hearing Brief referred to the following as “the Treaties” variously in

dispute in this arbitration:

Contractors Wrap-Up/Projects and Discontinued Completed Operations Casualty Quota
Share Reinsurance Agreement, effective January |, 2000 through January 1, 2001 (ref.
121002/128702). Catalina assumed share — 7.5%

Contractors Wrap-Up/Projects and Discontinued Completed Operations Casualty Quota
Share Reinsurance Agreement, effective January 1, 2001 through January 1, 2002 (ref.
121003/128703). Catalina assumed share — 15.0%

General Contractors and Sub-Contractors Casualty Quota Share Reinsurance Agreement,
effective January 1, 2001 through January 1, 2002 (ref. 121303/121403). Catalina

assumed share — 15%

Contractors Excess Wrap-Up Quota Share Reinsurance Agreement, effective January 1,

2000 through January 1, 2001 (ref: 136402). Catalina assumed share - 7.5%

 

 
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Mobile Crane Rental Program Excess of Loss Reinsurance Agreement, effective March

1, 2000 through February 28, 2001 (ref: 141101). Catalina assumed share — 10%

WHEREAS, Aon Re Inc. was the broker of record for all but the Mobile Crane Rental treaty
(ref: 141101) which was placed by Guy Carpenter & Company, Inc.

WHEREAS, Petitioner was placed into receivership by Illinois court order dated April 9, 2003

and is administered by the Illinois Director of Insurance through the Office of the Special Deputy

Receiver (“OSD”).

WHEREAS, during an organization meeting in this matter held in Chicago on July 27, 2017, the
arbitration panel identified above (“the Panel”) was duly constituted and accepted by Legion and

Catalina;

WHEREAS, the parties agreed that their dispute should be resolved at a hearing with each party

presenting witness testimony and oral argument;

WHEREAS, following the submission of pre-hearing briefs by counsel for each party the
arbitration hearing was conducted in this matter at the law offices of Thompson Coburn LLP in

Chicago, Illinois on June 12, 13 and 14, 2018.

NOW THEREFORE, having reviewed and considered all of the evidence submitted by the
Parties, including exhibits and deposition transcripts, as well as the evidence and arguments
proffered at the hearing, including fact witness testimony, and having had the opportunity to
fully deliberate the issues presented and having considered all the evidence, the Panel hereby

rules and directs as follows:

REDACTED

 
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REDACTED

 
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REDACTED

 

 
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9. With the issuance of this Initial Final Award, the parties are entitled to resume ex pare

commvtinications with their respective party arbitrators.

Dated: June21, 2018

By The. Members of the Panel,

 
 

Umpire, Jeremy R, Wallis: A

Arbitrator, James Leatzow: {

j ft
Arbitrator, Jonathan Rosen: . he Coan

 
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Exhibit B

 

 

 
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In the Matter of the Arbitration Between : Before:
LEGION INDEMNITY COMPANY : Jeremy Wallis (Umpire)
(In Liquidation) :
Petitioner, : James Leatzow (Arbitrator)
~ and -

Jonathan Rosen (Arbitrator)
CATALINA HOLDINGS LIMITED

Respondent.

 

FINAL AWARD

 

1. The Panel issued its Initial Final Award on June 21, 2018, which it hereby reaffirms
and incorporates herein.

2. Counsel for Respondent has alerted the Panel to the fact that recitation of one contract
that formed part of this proceeding was inadvertently omitted from the Initial Final
Award, which the Panel now clarifies by the inclusion of the following to the listing on
pages one and two and comprising “the Treaties” variously in dispute in this
arbitration:

Casualty Quota Share Reinsurance Agreement (A.C.T. Preferred
Residential, U.S. Risk Underwriters) effective July 1, 2000 through
July 1, 2001 (ref. 153901). Catalina assumed share — 17.5%

REDACTED

 

 
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REDACTED

5. All further requests for relief are DENIED.
6, With the issuance of this Final Award the parties are entitled to résume ex parte
‘ communications with their respective party arbitrators.

7, The Panel shall remain, constituted-and shall dissolve once notified that the

provisions of this Final Award have been satisfied.

Members of the Panel: 7th
Umpire, Jefemy Wallis: /
Arbitrator. James. Leatzow: — at Aye (dissenting on the award)

Vong
Arbitrator. Jonathan, Rosen: 0 Vt

Dated: July 31, 2018

 

 

 
